                      UNITED  STATES COURT
                       Case: 25-1587       OF7APPEALS
                                     Document:   Page: 1FORDate
                                                           THEFiled:
                                                                THIRD  CIRCUIT
                                                                     04/07/2025

                                                      No.   25-1587


                           Atlas Data Privacy Corporation     vs. Amerilist, Inc., et al.

                  ENTRY OF APPEARANCE

 Please OLVWthe names of all parties represented, using additional sheet(s) if necessary:

 Atlas Data Privacy Corporation, et al.
Indicate the party’s role IN THIS COURT (check only one):

         ____ Petitioner(s)                 ____ Appellant(s)                 ____ Intervenor(s)

          ✔ Respondent(s)
         ____                               ____ Appellee(s)                  ____ Amicus Curiae

(Type or Print) CounseO’s Name Rajiv D. Parikh
                               ________________________________________________________________
                                    ✔ Mr.
                                  ____        ____ Ms.    ____ Mrs. ____ Miss ____ Mx.

Firm PEM Law LLP

Address One Boland Drive, Suite 101

City, State, Zip Code        West Orange New Jersey 07052


Phone 973-585-5330                                                    Fax 973-860-4433

Primary E-Mail Address (required) rparikh@pemlawfirm.com
Additional E-Mail Address (1) dcolburn@pemlawfirm.com
Additional E-Mail Address (2)
Additional E-Mail Address (3)

If your organization has created a common or general email address for purposes of receiving
ECF notices, that common email address MUST be one of the listed additional email addresses.
Notices generated from the Court’s ECF system will be sent to both the primary e-mail and additional
e-mail addresses. You are limited to 3 additional e-mail addresses.

SIGNATURE OF COUNSEL:

COUNSEL WHO FAIL TO FILE AN ENTRY OF APPEARANCE WILL NOT BE ENTITLED TO RECEIVE
NOTICES OR COPIES OF DOCUMENTS INCLUDING BRIEFS AND APPENDICES. ONLY
ATTORNEYS WHO ARE MEMBERS OF THIS COURT’S BAR OR WHO HAVE SUBMITTED A
PROPERLY COMPLETED APPLICATION FOR ADMISSION MAY FILE AN APPEARANCE FORM.

A non-government attorney who is not currently in active status will be required to file the Attorney
Admission Renewal /Adjustment of Status Form in order to proceed with the case. Bar admission is
waived for Federal and Virgin Island government attorneys.

REV. 
